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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



IN RE ENDANGERED SPECIES ACT
SECTION 4 DEADLINE LITIGATION
                                     Misc. Action No. 10-377 (EGS)
                                     MDL Docket No. 2165
This Document Relates To:
Center for Biological
Diversity v. Salazar,
No. 10-cv-230.



                   ORDER GRANTING JOINT MOTION
            FOR APPROVAL OF SETTLEMENT AGREEMENT AND
 ORDER OF DISMISSAL OF CENTER FOR BIOLOGICAL DIVERSITY’S CLAIMS

     Based on the parties’ Joint Motion for Approval of

Settlement Agreement and Order of Dismissal of the Center for

Biological Diversity’s Claims, and for good cause shown, the

Court hereby ORDERS as follows:

     1.   The terms and conditions of the Settlement Agreement

          negotiated between Plaintiff Center for Biological

          Diversity (“CBD”) and the Federal Defendants (the

          Secretary of Interior and the U.S. Fish and Wildlife

          Service) are hereby approved and adopted as an

          enforceable ORDER of this Court.
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     2.      The above-captioned action in this consolidated multi-

             district litigation in which CBD is the Plaintiff is

             hereby DISMISSED, as provided in paragraph B(7) of the

             Settlement Agreement.


SO ORDERED.

Signed by:       Emmet G. Sullivan
                 United States District Judge
                 September 9, 2011




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